       4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 1 of 16 - Page ID # 1


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 A024I                                                                                             ulS TRICT OF ~ff8Rt,Sl 1                            Page 2
(Rev O1/15)

                                       PETITION UNDER 28 u.s.c. § 2254 Frnli~tH\rl AM 10: 5-,                        m9
                                     HABEAS CORPUS BY A PERSON IN STATE CUSTODY

 United States District Court                                                District: Lancaster                              County
 Name (under which you were convicted): Michae 1           D. Dewey                                                            Docket or Case No.:



 Place of Confinement: Nebraska                    State Penitentiary


 Petitioner (include the name under which you were convicted)                Respondent (authorized person having custody ofpetltmner)
 Michael D. Dewey                                                               Rob Jeffereys, Director
                                                                     V.
                                                                                Nebraska Department of
                                                                                Correctional Services
 The Attorney General of the State of:            Mike Hi 1 er s


                                                                  PETITION



 I.           (a) Name and location of court that entered the judgment of conviction you are challenging:

              The District Court of Lancaster Count                                                              Nebraska ~ Lincoln                   Ne.



              (b) Criminal docket or case number (if you know):            Case No. CR19-814
 2.           (a) Date of the judgment of conviction (if you know):        March f) 2020
                                                                                                          _--=-=--=---=------------
                                                                          ...,.....,"'-"'-=-=-=----i.......

              (b) Date of sentencing:        March 30             2020
 3.           Length of sentence:   --'6,._4_,___-_ 7'-0=-..,,_y.....,e=a=r_'-=s' - - - - - - - - - - -- - - - - - - - - -- -
 4.           In this case, were you convicted on more than one count or of more than one crime?                              1/J   Yes      0   No

 5.           Identify all crimes of which you were convicted and sentenced in this case:
                                                         Count 1 Manslaughter,
               Count, 2 Use of a firearm to commit a felony




                                        0   (I)      Not guilty             9          (3)                    Nola contendere (no contest)

      MAY O9 2024                       0   (2)      Guilty                 0          (4)                    Insanity plea

        CLEl<K
U.S. DISTRICT COURT
       LINCOLN
     4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 2 of 16 - Page ID # 2




AO 241 (Rev 09/17)

         (b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

         you plead guilty to and what did you plead not guilty to?




         (c) If you went to trial, what kind of trial did you have? (Check one)

                       0 Jury       0     Judge only

7.       Did you testify at a pretrial hearing, trial, or a post-trial hearing?

                       0 Yes        ~     No

8.       Did you appeal from the judgment of conviction?

                        fl Yes      0     No

9.       If you did appeal, answer the following:

         (a) Name of court:
                                  Nebraska Court of ~A~P~P-e=a~l~s._______
         (b) Docket or case number (if you know):
                                                 State v Dewey, A-20-270                                    Neb.App. Dec.3,)
         (c) Result:              Affirmed
         (d) Date of result (if you know): December 3, 2021
         (e) Citation to the case (if you know):

         (f)Grou nd sraised:       Ineffective Assistance of Counsel, and Excessive
          Sentence




        (g) Did you seek further review by a higher state court?           / if Yes   0   No

                     If yes, answer the following:

                     (I) Name of court:     Nebraska Su reme Court
                     (2) Docket or case number (if you know):

                     (3) Result:
                                            Refosed ta Hear it



                                                                                                                      Page 3 of 16
       4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 3 of 16 - Page ID # 3




AO 241 (Rev 09/17)

                     (4) Date of result (if you know):

                     (5) Citation to the case (if you know):

                     (6) Grounds raised:




         (h) Did you file a petition for certiorari in the United States Supreme Court?            0   Yes        D No

                     If yes, answer the following:

                     (I) Docket or case number (if you know):

                     (2) Result:



                     (3) Date of result (if you know):

                     (4) Citation to the case (if you know):

I 0.     Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions

         concerning this judgment of conviction in any state court?                b' Yes          D   No

11.      If your answer to Question 10 was "Yes," give the following information:

         (a)         (I) Name of court:              istrict Court of Laneaster Count
                                                                                 - -~ - - - -
                     (2) Docket or case number (if you know): CR 19-814
                     (3) Date of filing (if you know):         ~   ember 13         2021
                     ( 4) Nature of the proceeding:
                                                Postconviction
                     (5)Groundsraised: Hj s sentence on the use of a firearm conviction
                        was unconstitutional and Ineffective assistance of counsel




                     (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                       D Yes       ~ No

                     (7) Result:



                                                                                                                        Page4of 16
     4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 4 of 16 - Page ID # 4



AO 241 (Rev 09/17)

                     (8) Date of result (if you know):

         (b) If you filed any second petition, application, or motion, give the same infonnation:

                     (I) Name of court:

                     (2) Docket or case number (if you know):
                                                                                                       - - - - - -- - -
                     (3) Date of filing (if you know):

                     (4) Nature of the proceeding:

                     (5) Grounds raised:




                     (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                       0 Yes        O No

                     (7) Result:

                     (8) Date of result (if you know):

         (c) If you filed any third petition, application, or motion, give the same infonnation:

                     (I) Name of court:

                     (2) Docket or case number (if you know):

                     (3) Date of filing (if you know):

                     (4) Nature of the proceeding:

                     (5) Grounds raised:




                                                                                                                        Page5of 16
       4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 5 of 16 - Page ID # 5



 AO 241 (Rev 09/17)

                      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                        0 Yes        0      No

                      (7) Result:

                      (8) Date of result (if you know):

          (d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition, application,

          or motion?

                      (I) First petition:        ii Yes    0    No

                      (2) Second petition:       0 Yes     0    No

                      (3) Third petition:        0 Yes     0    No

          (e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:




 12.      For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
          laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
          supporting each ground. Any legal arguments must be submitted in a separate memorandum.

          CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available
          state-court remedies on each ground on which you request action by the federal court. Also, if you fail to set
          forth all the grounds in this petition, you may be barred from presenting additional grounds at a later date.

GROUND ONE:                Petitioner was de rived of the effective assistance of
coyn$el at all critical stages of the                                       roceedin s             in violation of the 6th
a mt t 4th Amendments .
(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

Over the course of the                            roceedin s. Petitioner's counsel failed in
            fulfil duties owed to Petitioner                                                       which includes:
---~ ------------------
1) Failed to ade                                  investi ate and challen e the admissibilit                                            of
the firearm evidence; 2) Failed to adequately ivesti ate, contact, depose,
interview, subpoena, or call as witness Destinee Godel· and 3                                                             Undul
~ressuring Dewey to enter a plea a ainst his wishes and makin                                  romises
 ~garding sentencing.
(b)lfyou did not exhaust your state remedies on Ground One, explain why: This issue was t imel
presented in a Petition for Postconviction Relief to the trial court which
initiall              denied the Petition without a hearin . Then a ain affirmed by Wa)
of Direct A                eal to the Supreme Court of Nenraska, S-22-000546.




                                                                                                                         Page 6 of 16
      4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 6 of 16 - Page ID # 6



AO 241 (Rev 09/17)

(c)      Direct Appeal of Ground One:

         (I) If you appealed from the judgment of conviction, did you raise this issue?            0    Yes        0   No

         (2) If you did not raise this issue in your direct appeal, explain why:




(d) Post-Conviction Proceedings:

         (I) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                     t1:J Yes     0      No

         (2) If your answer to Question (d)(I) is "Yes," state:

         Type of motion or petition:          Pos tconvic tion
         Name and location of the court where the motion or petition was filed:
                                                                                     The lancaster Cauoty Court

         Docket or case number (if you know):        CR-19-814
         Date of the court's decision:
                                              6-17-2022
         Result (attach a copy of the court's opinion or order, if available):     attache



         (3) Did you receive a hearing on your motion or petition?                                 0    Yes       tJ No
         (4) Did you appeal from the denial of your motion or petition?                            6 Yes          0    No

         (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   o' Yes         0    No

         (6) If your answer to Question (d)(4) is "Yes," state:

        Nameandlocationofthecourtwheretheappealwasfiled:                  The Nebraska Court of A                         ea s and
           Supreme Court
         Docket or case number (if you know):       S- 2 2 - 5 4 6
        Date of the court's decision:         December 15            2023
        Result (attach a copy of the court's opinion or order, if available):      Not available



        (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




                                                                                                                       Page7of 16
      4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 7 of 16 - Page ID # 7



AO 241 (Rev 09/17)

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you have

used to exhaust your state remedies on Ground One:




GROUND TWO:



(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




(b) If you did not exhaust your state remedies on Ground Two, explain why:




(c)      Direct Appeal of Ground Two:

         (I) If you appealed from the judgment of conviction, did you raise this issue?              0     Yes     0   No

         (2) If you did not raise this issue in your direct appeal, explain why:




(d)      Post-Conviction Proceedings:

         (I) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                     0 Yes       O No

        (2) If your answer to Question (d)( I) is "Yes," state:

        Type of motion or petition:

        Name and location of the court where the motion or petition was filed:




        Docket or case number (if you know):


                                                                                                                       Page 8 of 16
      4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 8 of 16 - Page ID # 8



AO 241 (Rev 09/17)

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on your motion or petition?                                   0    Yes    0     No

          (4) Did you appeal from the denial of your motion or petition?                              0    Yes    0     No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?     0    Yes    0     No

          (6) If your answer to Question (d)(4) is "Yes," state:

         Name and location of the court where the appeal was filed :



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




         (7) If your answer to Question (d)( 4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)      Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

         have used to exhaust your state remedies on Ground Two :




GROUND THREE:



(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




                                                                                                                        Page 9 of 16
      4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 9 of 16 - Page ID # 9



AO 241 (Rev 09/17)

(b) If you did not exhaust your state remedies on Ground Three, explain why:




(c)      Direct Appeal of Ground Three:

         (I) If you appealed from the judgment of conviction, did you raise this issue?             0   Yes        0 No

         (2) If you did not raise this issue in your direct appeal, explain why:




(d)      Post-Conviction Proceedings:

         (I) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                     0 Yes        O No
         (2) If your answer to Question (d)( I) is "Yes," state:

         Type of motion or petition:

         Name and location of the court where the motion or petition was filed:



         Docket or case number (if you know):

         Date of the court's decision:

         Result (attach a copy of the court's opinion or order, if available):




         (3) Did you receive a hearing on your motion or petition?                                 0    Yes       0 No
         (4) Did you appeal from the denial of your motion or petition?                            0    Yes       0 No
         (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   0    Yes       0 No

         (6) If your answer to Question (d)(4) is "Yes," state:

        Name and location of the court where the appeal was filed:



         Docket or case number (if you know):

         Date of the court's decision:

         Result (attach a copy of the court's opinion or order, if available):




                                                                                                                      Page 10 of 16
      4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 10 of 16 - Page ID # 10



AO 241 (Rev 09/17)

         (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)      Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

         have used to exhaust your state remedies on Ground Three:




GROUND FOUR:



(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




(b) If you did not exhaust your state remedies on Ground Four, explain why:




(c)      Direct Appeal of Ground Four:

         (I) If you appealed from the judgment of conviction, did you raise this issue?              0     Yes     0 No
         (2) If you did not raise this issue in your direct appeal, explain why:




(d}      Post-Conviction Proceedings:

         (I) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                     0 Yes       O No

        (2) If your answer to Question (d)( I) is "Yes," state:

        Type of motion or petition:


                                                                                                                       Page 11 of 16
      4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 11 of 16 - Page ID # 11



AO 241 (Rev 09/17)

         Name and location of the court where the motion or petition was filed:



         Docket or case number (if you know):

         Date of the court's decision:

         Result (attach a copy of the court's opinion or order, if available):




         (3) Did you receive a hearing on your motion or petition?                                 0   Yes       0 No
         (4) Did you appeal from the denial of your motion or petition?                            0   Yes       0 No

         (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   0   Yes       0 No

         (6) If your answer to Question (d)(4) is "Yes," state:

         Name and location of the court where the appeal was filed:



         Docket or case number (if you know):

         Date of the court's decision:

         Result (attach a copy of the court's opinion or order, if available):




         (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)     Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

         have used to exhaust your state remedies on Ground Four:




                                                                                                                       Page 12 of 16
       4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 12 of 16 - Page ID # 12



AO 241 (Rev 09/17)

13.       Please answer these additional questions about the petition you are filing:

          (a)        Have all grounds for relief that you have raised in this petition been presented to the highest state court

                     havingjurisdiction?     0 Yes          0     No

                     lfyour answer is "No," state which grounds have not been so presented and give your reason(s) for not

                     presenting them:




          (b)        Is there any ground in this petition that has not been presented in some state or federal court? If so, which

                     ground or grounds have not been presented, and state your reasons for not presenting them:




14.       Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction

          that you challenge in this petition?        0     Yes        1;21 No

          If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, the issues

          raised, the date of the court's decision, and the result for each petition, application, or motion filed . Attach a copy

          of any court opinion or order, if available.




15 .     Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal, for

         the judgment you are challenging?            0     Yes        tJ No
         lf"Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the issues

         raised.




                                                                                                                         Page 13 of 16
      4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 13 of 16 - Page ID # 13



AO 241 (Rev 09/17)

16.      Give the name and address, if you know, of each attorney who represented you in the following stages of the

         judgment you are challenging:

         (a) At preliminary hearing:



         (b) At arraignment and plea:        J~~r- p,., L~•C-k loo s II sl L!AL,tih,.,M (~say

         (c) At trial:



         (d) At sentencing:



         (e) On appeal:



         (f) In any post-conviction proceeding:



         (g) On appeal from any ruling against you in a post-conviction proceeding:




17.      Do you have any future sentence to serve after you complete the sentence for the judgment that you are

         challenging?            0     Yes    d       No

         (a) If so, give name and location of court that imposed the other sentence you will serve in the future:




         (b) Give the date the other sentence was imposed:

         (c) Give the length of the other sentence:

         (d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in the

        future?                  0     Yes    O       No

18.     TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain

        why the one-year statute of limitations as contained in 28 U .S.C. § 2244( d) does not bar your petition.*

         The i os tan t Pe ti ti one j s timely within the one-year limi-tat---ie-a-s
          eriod under the ADEP rev·s i ons to 28 IJ.S.C. § 2254(d) Any
         perce tions or claims otherwise would be overcome b the
         ineffective assistance of counsel claims as set forth b the
          Petitioner in the petition.

                                                                                                                     Page 14 of 16
    4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 14 of 16 - Page ID # 14



AO 24 1 (Rev 09/1 7)




* The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d) provides in

part that:

             (I)       A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
                       custody pursuant to the judgment of a State court. The limitation period shall run from the latest of -

                       (A)      the date on which the judgment became final by the conclusion of direct review or the expiration
                                of the time for seeking such review;

                       (8)      the date on which the impediment to filing an application created by State action in violation of
                                the Constitution or laws of the United States is removed, if the applicant was prevented from
                                filing by such state action;

                       (C)     the date on which the constitutional right asserted was initially recognized by the Supreme Court,
                               if the right has been newly recognized by the Supreme Court and made retroactively applicable to
                               cases on collateral review; or

                       (D)     the date on which the factual predicate of the claim or claims presented could have been
                               discovered through the exercise of due diligence.




                                                                                                                          Page 15 of 16
    4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 15 of 16 - Page ID # 15



AO24I (Rev 09/17)

         (2)        The time during which a properly filed application for State post-conviction or other collateral review with
                    respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation
                    under this subsection.

                                      The issuance of the Writ of
Therefore, petitioner asks that the Court grant the following relief:

Habeas Corpus compelling release or retrial.
                                         ------ -------- - -

or any other relief to which petitioner may be entitled.




                                                                          Signature of Attorney (if any)




1 declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Petition for

Writ of Habeas Corpus was placed in the prison mailing system on            L - .3, D-    d:>:1         (month, date, year).




Executed (signed) on




                                                                              Signature of Petitioner

lfthe person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing this petition.




                                                                                                                           Page 16 of 16
4:24-cv-03087-JFB-PRSE Doc # 1 Filed: 05/09/24 Page 16 of 16 - Page ID # 16
